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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION
JARROD JOHNSON, individually, and
on Behalf of a Class of persons
similarly Situated,

      Plaintiff,
                                             Civil Action No.:
v.                                           4:20-cv-00008-AT

3M COMPANY, ET AL.,

      Defendants.


     DEFENDANTS SHAW INDUSTRIES, INC. AND SHAW INDUSTRIES
              GROUP, INC.’S INITIAL DISCLOSURES

      COME NOW Shaw Industries, Inc., and Shaw Industries Group, Inc., (the

“Shaw Defendants” or “Shaw”), and hereby provide these initial disclosures

required by Fed. R. Civ. P. 26(a)(1). The following initial disclosures are based on

information reasonably available to the Shaw Defendants at the present time. The

Shaw Defendants reserve the right to supplement these disclosures as more

information about this matter becomes available.

      (1) If the Defendant is improperly identified, state Defendant's correct
identification and state whether Defendant will accept service of an amended
summons and complaint reflecting the information furnished in this disclosure
response.




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      Shaw Industries, Inc. is improperly identified as it does not manufacture

anything and does not use PFCs. As such, Shaw Industries, Inc. should be

dismissed. Shaw Industries Group, Inc., however, is properly identified.

     (2) Provide the names of any parties whom Defendant contends are
necessary parties to this action, but who have not been named by Plaintiff. If
Defendant contends that there is a question of misjoinder of parties, provide the
reasons for Defendant's contention.

      The Shaw Defendants are not aware of any additional necessary parties to this

action who have not yet been named by Plaintiff, and are not aware of misjoinder of

parties. The Shaw Defendants will supplement this response if needed.

     (3) Provide a detailed factual basis for the defense or defenses and any
counterclaims or crossclaims asserted by Defendant in the responsive pleading.

      Shaw is a careful steward of the components used in all of its flooring

products, focusing on the sustainability and safety of products it produces and sells

to the public. In the past, Shaw Industries Group, Inc. used some forms of

perfluorinated compounds (PFCs) in the manufacture of some of its carpets to give

those products soil and stain resistance qualities. This was not unusual, since many

different industries, including the carpet industry, used these chemicals for decades

in a variety of consumer products. Shaw always followed industry custom,

responsible practices, and standards in doing so. When concerns were raised about

various products containing PFCs in the early 2000s, such as the product called

“Scotchguard,” Shaw discontinued the further use of those products. Shaw also

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evaluated and adopted alternatives to the products then on the market and Shaw’s

manufacturing processes were engineered to minimize any waste. Ultimately,

Shaw ceased using any product containing PFCs in the manufacture of carpeting in

the United States by January 31, 2019.

      Shaw Industries Group, Inc. lawfully discharges, and has discharged in the

past, wastewater from its manufacturing facilities located in or around Dalton,

Georgia to Dalton Utilities pursuant to a Dalton Utilities’ state issued permit with

the EPD. Both Dalton Utilities and the State of Georgia were fully aware that there

were very small amounts of PFCs contained in Shaw’s wastewater. The State of

Georgia thereby explicitly authorized the actions of Dalton Utilities and

manufacturers, like Shaw, which sent their wastewater to Dalton Utilities. Dalton

Utilities had the responsibility of treating the wastewater it received pursuant to its

permit, and Dalton Utilities pumped the wastewater into a 9,800-acre Land

Application System (“LAS”), where the treated wastewater was sprayed onto that

property. Shaw was merely a customer of Dalton Utilities which delivered its

wastewater to a treatment facility for disposal. Shaw does not, and cannot, direct or

control any of Dalton Utilities’ waste disposal operations. At all relevant times,

Shaw acted in compliance with Georgia law and the permits granted to it for

discharge of its industrial wastewater.




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        Shaw has no duty to the Plaintiff in this action. Shaw has not created or

maintained any nuisance or other dangerous condition and it has breached no duty

owed to Plaintiff. Further, there is no evidence that Shaw’s actions have caused

any harm to Plaintiff. To the extent that Plaintiff has been harmed in any way, that

harm has been caused by others and not Shaw.

        The City of Rome has also filed a lawsuit against the Shaw Defendants, and

others seeking damages related to the presence of PFCs in the Oostanaula River

and reimbursement for the costs of filtering water removed from the Oostanaula

River by the City of Rome. See City of Rome v. 3M Company, et al, Floyd County

Superior Court, Civil Action Number: 19cv02405JFL003. The named Plaintiff in

this action alleges that he has suffered similar damages, as a rate payer to the City

of Rome, related to the filtering of PFCs from the exact same drinking water, and

for an increased risk of harm. The named Plaintiff has alleged no damage to his

property. The named Plaintiff has not alleged any physical injury and Shaw is

unaware of any physical injury to Plaintiff. Inasmuch as the Plaintiff’s lawsuit does

not allege such damages, and creates the opportunity for a double recovery for the

same damages by both Plaintiff and the class he seeks to represent, on the one

hand, and the City of Rome, on the other, this claim is barred by the economic loss

rule.




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      The Shaw Defendants incorporate by reference their Answer and the

description of their defenses contained in their Motion to Dismiss and reserve the

right to supplement this response as discovery progresses.

      (4) Describe in detail all statutes, codes, regulations, legal principles,
standards and customs or usages, and illustrative case law which Defendant
contends are applicable to this action.

       At the current stage in the litigation, the following statutes, codes, legal

principles, and illustrative case law are applicable to this action. The Shaw

Defendants reserve the right to supplement this list:

       A. Causation: Any alleged injury to Plaintiff was caused by an intervening

cause and an attenuated chain of actions – in particular those taken by Dalton

Utilities – effectively breaking any causal link between Shaw’s conduct and

Plaintiff’s injuries and precluding any finding of proximate cause. See Alexander

v. Hulsey Envtl. Servs., Inc., 306 Ga. App. 459, 462 (2010) (a plaintiff must show

a legally attributable causal connection between the defendant’s conduct and the

alleged injury.); Yearty v. Scott Holder Enterprises, Inc., 349 Ga. App. 718, 722

(2019), reconsideration denied (Mar. 26, 2019) (“the well-established doctrine of

intervening causes states that there can be no proximate cause where there has

intervened between the act of the defendant and the injury to the plaintiff, an

independent act or omission of someone other than the defendant, which was not

foreseeable by defendant, was not triggered by defendant's act, and which was


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sufficient of itself to cause the injury.”); Avis Rent A Car Sys., LLC v. Johnson,

836 S.E.2d 114, 116 (Ga. Ct. App. 2019) (“when a defendant claims that its

negligence is not the proximate cause of the plaintiff’s injuries, but that an act of a

third party intervened to cause those injuries, the rule is that an intervening and

independent wrongful act of a third person producing the injury . . . should be

treated as the proximate cause insulating and excluding the negligence of the

defendant.”).

      B. The Economic Loss Rule: The economic loss rule bars Plaintiff’s

substantive claims for “tort” and for public nuisance because Plaintiff does not

seek claims for personal injury, or damage to their own property. See Gen. Elec.

Co. v. Lowe’s Home Centers, Inc., 279 Ga. 77, 78, 608 S.E.2d 636, 637 (2005) (“a

plaintiff can recover in tort only those economic losses resulting from injury to his

person or damages to his property.”); Remax The Mountain Co. v. Tabsum, Inc.,

280 Ga. App. 425, 634 S.E. 2d 77, 78-79 (2006) (court held it was undisputed that

the plaintiffs’ properties and businesses were not physically damaged, and thus,

pursuant to Lowe’s, the economic loss doctrine barred plaintiffs’ claims in tort);

Murray v. ILG Techs., LLC, 378 F. Supp. 3d 1227, 1232–33 (S.D. Ga.

2019), aff'd, No. 19-11607, 2020 WL 91546 (11th Cir. Jan. 8, 2020) (where no

damage to plaintiffs’ person or property, the economic loss doctrine bars the

plaintiffs’ claims); City of Atlanta v. Benator, 310 Ga. App. 597, 605 (Ga. App.


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2011) (The Georgia Court of Appeal affirmed the trial court’s dismissal of tort

claims under the economic loss doctrine, holding that “the only specific damages

alleged by the plaintiff are overpayments to the city for which they seek a refund.

They do not seek damages due to injury to their persons or to their real or personal

property.”).

      C. Non-Specific health threats: The Plaintiff’s claims that they are subject

to a “risk” of injury fail because non-specific health threats, without any

accompanying physical harm, are insufficient damages to support a claim for

relief. See O.C.G.A. § 51-12-8; Johnson v. Am. Nat'l Red Cross, 276 Ga. 270, 275,

578 S.E.2d 106, 110 (2003) (affirming grant of summary judgment on negligent

claim and holding that fears of contracting disease were “unreasonable as a matter

of law”); Jefferson v. Houston Hosps., Inc., 336 Ga. App. 478, 486–87 (2016)

(“appellants have never been diagnosed with breast cancer, and any emotional

distress attributable to mistrust of the mammogram procedure or fear of a

misdiagnosis in the future is not cognizable in damages”); Russaw v. Martin, 221

Ga. App. 683, 686 (1996) (“To allow recovery for emotional injuries and mental

anguish, without any proof whatsoever that Debra Russaw was actually exposed to

HIV or hepatitis is per se unreasonable.”); Boyd v. Orkin Exterminating Co., Inc.,

191 Ga. App. 38, 40 (1989) (overruled on other grounds) (fear of contracting

disease in future not compensable without showing a “reasonable medical


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certainty” that such consequence will occur); Paws Holdings, LLC v. Daikin

Indus., Ltd., CV 116-058, 2017 WL 706624, at *13 (S.D. Ga. Feb. 22, 2017) (“to

the extent that Plaintiff claims that it has suffered an increased risk of injury, such

increased risks of injury are insufficient to state an ‘injury’ recoverable in tort

under Georgia law.”).

      D. Shaw owes no duty to Plaintiff Shaw does not owe a duty to Plaintiff,

nor has Shaw breached a viable legal duty to Plaintiff. See John Crane, Inc. v.

Jones, 278 Ga. 747, 751 (2004) (To state a claim for negligence in Georgia, a party

“must show a duty, breach of that duty, causation and damages.”); Brooks v.

Branch Banking & Trust Co., 107 F.Supp.3d 1290, 1303 (N.D. Ga. 2015) (granting

defendant’s motion to dismiss plaintiff’s negligence claim because “she [did] not

allege any specific duty owed to her by Defendant.”); Sellers v. Bank of Am., Nat.

Ass'n, No. 1:11-CV-3955-RWS, 2012 WL 1853005, at *5 (N.D. Ga. May 21,

2012) (dismissing plaintiffs’ negligence claim because “[p]laintiffs have failed to

allege a duty, cognizable under Georgia law, that Defendants owed to Plaintiffs

and that Defendants breached by engaging in alleged acts of ‘predatory lending.’”);

Dep't of Labor v. McConnell, 305 Ga. 812 (2019) (affirming dismissal of

plaintiff’s negligence claim since no legal duty owed to plaintiff); City of

Douglasville v. Queen, 270 Ga. 770, 771 (1999) (“No matter how innocent the

plaintiff may be, he is not entitled to recover unless the defendant did something


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that it should not have done, or failed to do something that it should have done

pursuant to the duty owed the plaintiff.”).

      E. Shaw’s actions were legal and permissible: Shaw’s actions cannot

constitute a nuisance as they were legal and permissible. Shaw was authorized to

send its wastewater to Dalton Utilities for treatment and disposal, pursuant to its

lawful permit held with Dalton Utilities. See O.C.G.A. § 41-1-1; Effingham Cty.

Bd. of Comm'rs v. Shuler Bros., Inc., 265 Ga. App. 754, 755, 595 S.E.2d 526, 528

(2004) (emphasis added) (since “chip mill was a legal enterprise operated as the

law authorized, it cannot have been a nuisance.”); Anderson v. Atlanta Comm. for

Olympic Games, Inc., 261 Ga. App. 895, 900 (2003) (“Since the Park itself was

lawful, it could have become a nuisance only if conducted in an illegal manner.

There is, however, no evidence that ACOG operated the Park in an illegal

manner.”); City of Douglasville v. Queen, 270 Ga. 770, 771 (1999) (the City’s

lawful conduct could not form the basis of a nuisance cause of action); Georgia

Department of Natural Resources, Letter Re: Dalton Utilities-Riverbrend Land

Application System (LAS) Permit No. GA02-056 at 3, §§ 11-12 (March 26, 2007)

available at https://archive.epa.gov/pesticides/region4/water/documents/web/pdf/

dalton_utilities_las_permit.pdf).

      F. Shaw has no control over the alleged nuisance: Shaw cannot be liable

for a nuisance over which it had no control and which was instead under the sole


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control of another, i.e. Dalton Utilities and the other water treatment facilities

referenced in Plaintiff’s Complaint. See Grinold v. Farist, 284 Ga. App. 120, 122

(2007) (holding where “the record is devoid of any evidence that [defendant]

created, continued, or maintained the alleged nuisance or otherwise controlled the

release of household discharge on his aunt’s property,” plaintiff’s claim of

nuisance must fail); Upper Chattahoochee Riverkeeper Fund, Inc. v. City of

Atlanta, 986 F. Supp. 1406, 1420 (N.D. Ga. 1997) (“It must be shown that the

injury is the natural and proximate consequence of the acts of the defendant and

not the acts of others.”); Rymer v. Polo Golf & Country Club Homeowners Ass'n,

Inc., 335 Ga. App. 167, 177 (2015) (affirming summary judgment on nuisance

claim where “evidence clearly shows that Polo does not own or control any

drainage facilities within Polo Fields . . . .”); City of Atlanta v. Demita, 329 Ga.

App. 33, 37 (2014) (no evidence that sewer or drainage system causing flooding of

Demita’s property was under City’s control); Futch v. Lowndes Cty., 297 Ga. App.

308, 313 (2009) (Industrial Authority was entitled to summary judgment on

nuisance claim where “county own[ed] and maintain[ed] both the ditch and the

underlying sewer line . . . [and] [t]he Industrial Authority exercised no control over

any nuisance-creating instrumentality”); compare Sumitomo Corp. of Am. v. Deal,

256 Ga. App. 703, 704, 569 S.E.2d 608, 611 (2002) (testimony “allowed the jury




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to find that Sumitomo exercised enough control in the decision to maintain the

detention pond . . . to hold it liable for the damage to Deals’ land).

      G. Plaintiff’s claim for abatement is moot: Plaintiff’s claim for abatement

of nuisance is moot, as the Shaw Defendants have not utilized any of the chemicals

at issue since the beginning of 2019. There is, therefore, no continuing action to

enjoin or abate. See Sexual Offender Registration Review Bd. v. Berzett, 301 Ga.

391, 393 (2017) (“[T]here can be no actual or justiciable controversy if, among

other things, the questions in the case have become moot . . . .”) (quoting Fulton

County v. City of Atlanta, 299 Ga. 676, 677 (2016)); Crawford v. Ocwen Loan

Servicing, LLC, 343 Ga. App. 47, 48 (2017) (“If the event sought to be enjoined in

fact will not take place, the grant or denial of an injunction may also become

moot.”).

      H. Abatement, punitive damages, and attorneys’ fees claims fail:

Plaintiff’s claim for abatement of nuisance is a claim for equitable relief, and is

only available when the underlying claim itself is viable. See Washington

Seminary v. Bass, 192 Ga. 808, 816 (1941) (“It is well established that the mere

allegation of irreparable injury is not sufficient to authorize the granting of an

injunction, but facts must be alleged upon which the charge of irreparable injury is

predicated . . . .”); Lee v. Green Land Co., Inc., 272 Ga. 107, 110 (2000)

(“Likewise, a proceeding does not constitute an equity case simply because the


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plaintiff seeks injunctive relief, since an injunction is only a form of equitable

relief and not an independent equitable claim.”); Andrade v. Grady Mem'l Hosp.

Corp., 308 Ga. App. 171, 175 (2011) (“Because the underlying claims in the

complaint were correctly dismissed, . . . the trial court also correctly dismissed . . .

the associated claim for injunctive relief . . . .”). Because Plaintiff’s claims

substantive fail, as a matter of law, so too does its claim seeking an injunction to

abate a nuisance. For the same reasons, Plaintiff’s claims for attorneys’ fees and

punitive damages also fail. See O.C.G.A. §§ 13-6-11, 51-12-5.1; Sparra v.

Deutsche Bank Nat. Tr. Co., 336 Ga. App. 418, 422-423 (2016) (“[Plaintiff] is not

entitled to either [punitive damages and attorneys’ fees] because he has failed to

state a claim upon which relief could be granted with respect to his substantive

claims for relief.”); State, Dept. of Transp. v. Douglas Asphalt Co., 297 Ga. App.

470, 474 (2009) (“A prerequisite to any award of attorney fees under O.C.G.A. §

13–6–11 is the award of damages or other relief on the underlying claim.”)

(citation omitted).

      In the interest of brevity, Shaw incorporates by reference the defenses set

forth in its answer and in its motion to dismiss and reserves the right to supplement

this response as discovery progresses.

      (5) Provide the name and, if known, the address and telephone number
of each individual likely to have discoverable information that you may use to
support your claims or defenses, unless solely for impeachment, identifying the


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subjects of the information. (Attach witness list to Initial Disclosures as
Attachment A.)

     See Attachment A.


      (6) Provide the name of any person who may be used at trial to present
evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all
experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate written report
satisfying the provisions of that rule. (Attach expert witness list and written
reports to Initial Disclosures as Attachment B.)

     See Attachment B.

      (7) Provide a copy of, or description by category and location of, all
documents, data compilations or other electronically stored information, and
tangible things in your possession, custody, or control that you may use to
support your claims or defenses unless solely for impeachment, identifying the
subjects of the information. (Attach document list and descriptions to Initial
Disclosures as Attachment C.)

     See Attachment C.

      (8) In the space provided below, provide a computation of any category
of damages claimed by you. In addition, include a copy of, or describe by
category and location of, the documents or other evidentiary material, not
privileged or protected from disclosure on which such computation is based,
including materials bearing on the nature and extent of injuries suffered,
making such documents or evidentiary material available for inspection and
copying under Fed.R.Civ.P. 34. (Attach any copies and descriptions to Initial
Disclosures as Attachment D.)

     At this time, the Shaw Defendants do not claim any damages.

      (9) If Defendant contends that some other person or legal entity is, in
whole or in part, liable to the Plaintiff or Defendant in this matter, state the full
name, address, and telephone number of such person or entity and describe in
detail the basis of such liability.



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      Shaw believes, based upon public sources, that PFCs, including PFOA

and/or PFOS, have been used in a wide variety of consumer products in the 20th

and 21st Centuries, such as detergents, non-stick cookware, oil and grease resistant

food packaging materials, fast food wrappers, microwave popcorn bags, pizza

boxes, candy wrappers, water resistant coating, cleaning products, shampoos,

dental floss, certain cosmetics, other personal care products, certain paints,

varnishes, sealants, soil resistant treatments for upholstery fabrics, water resistant

treatments for clothing fabrics, soil resistant carpets, certain foods, certain aqueous

film-forming firefighting foam, medical garments, industrial floor wax, and stone

(referred to herein as "Products"). The manufacturers, distributors, others in the

chain of commerce, and end users (including the Plaintiff and the proposed class)

that interacted with or disposed of these Products likely caused or contributed to

causing PFCs, including PFOS and PFOA, to enter water sources for the City of

Rome. The Davison Blue Book, available at http://www.textilebluebook.net/, is an

annual directory of mills, dyers, finishers, converters and jobbers in the textile

industry who may have used such Products. As stated on the Davison Blue Book

website, "It also includes various suppliers to the textile industry including

machinery, chemicals, supplies and services." See http://www.textilebluebook.net/,

visited 6/10/2020. Any entity in the Davison Blue Book that used or supplied

PFOS and/or PFOA in manufacturing, and that is located on or near the City of


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Rome water sources may have caused or contributed to causing PFCs, including

PFOS and PFOA to enter those water sources. Thus, there are numerous people,

including the named Plaintiff in this action, and other entities who may have

contributed to the existence of PFOS and/or PFOA in the water sources for the

City of Rome. Shaw will supplement this response with the names and addresses

of specific people and entities who may be liable to the Plaintiff following further

discovery.

      (10) Attach for inspection and copying as under Fed.R.Civ.P. 34 any
insurance agreement under which any person carrying on an insurance
business may be liable to satisfy part or all of a judgment which may be entered
in this action or to indemnify or reimburse for payments to satisfy the
judgment. (Attach copy of insurance agreement to Initial Disclosures as
Attachment E.)

      The Shaw Defendants will provide responsive insurance policy declaration

pages to Plaintiff.



      This 15th Day of June, 2020.

                                             /s/ Jennifer B. Dempsey
                                             William V. Custer
                                             Georgia Bar No. 202910
                                             bill.custer@bclplaw.com
                                             Jennifer B. Dempsey
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                                   Counsel for Defendants Shaw
                                   Industries, Inc. and Shaw Industries
                                   Group, Inc.




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                                   Attachment A
      The Shaw Defendants identify the following individuals who may have

discoverable information that the Shaw Defendants may use to support its

defenses, unless solely used for impeachment.

      Other than the named plaintiff, each individual below can be contacted

through the undersigned counsel.

    The named plaintiff.

    Bill Whitmire, Director of Corporate Risk Management at Shaw. Mr.

      Whitmire's duties include overseeing risk management at Shaw, and he has

      knowledge regarding the same.

    Cynthia Walaitis, Director of Environmental, Health and Safety at Shaw.

      Ms. Walaitis's duties include oversight of the water permits at Shaw

      manufacturing facilities, and she has knowledge regarding the same.

    Michelle Hurley, Specialist - Dye/Chemicals at Shaw. Ms. Hurley's duties

      include the purchase of chemicals for Shaw's manufacturing plant, and she

      has knowledge regarding the same.

    Carey Mitchell, former Director of Sustainability at Shaw. Mr. Mitchell's

      duties included research and testing related to Shaw's manufacturing

      process, and he has knowledge regarding the same.

    Chester Chaffin, Vice President of Enterprise Excellence at Shaw. Mr.

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   Chaffin's duties focus on process improvement, manufacturing, and quality

   control, and he has knowledge regarding the same.

 Bryan Morton, Technical Director at Shaw. Mr. Morton's duties include

   oversight of the technical aspects of manufacturing, and he has knowledge

   regarding the same.

 John Hall, Director of Latex Applications at Shaw. Mr. Hall's duties include

   oversight of latex in applications, and he has knowledge regarding the same.

 George Cavanaugh, Technical Manager at Shaw. Mr. Cavanaugh's duties

   include oversight of technical aspects of manufacturing, and he has

   knowledge regarding the same.

 Keith Guyton, Chemical Manager at Shaw. Mr. Guyton's duties include

   management of chemical production in the manufacturing process, and he

   has knowledge regarding the same.

 Nathan Donohue, Technical Manager Residential Carpet at Shaw. Mr.

   Donohue's duties include oversight of technical aspects of manufacturing,

   and he has knowledge regarding the same.

 Turner Plunkett, Vice President of Soft Surface Manufacturing at Shaw. Mr.

   Plunkett’s duties include overseeing the business and operational practices

   of carpet manufacturing, and he has knowledge regarding the same.



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                                    Attachment B

      The Shaw Defendants have not yet identified any person who may be used at

trial to present evidence under Rules 702, 703, or 705 of the Federal Rules of

Evidence. The Shaw Defendants will supplement this response in accordance with

Fed. R. Civ. P. 26(e), and this Court’s Orders.




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                                   Attachment C

      Following is a description by category of all documents, data compilations or

other electronically stored information, and tangible things in the Shaw Defendants’

possession, custody, or control that it may use to support its defenses unless solely

for impeachment. The documents listed below are in the Shaw Defendants’

possession. The Shaw Defendants reserve the right to supplement this response in

accordance with Fed. R. Civ. P. 26(e), and this Court’s Orders.

       Documents related to carpet manufacturing.

       Documents related to the use of fluoropolymers in the manufacture of

         carpet in Shaw’s manufacturing facilities.

       Documents related to the disposal of wastewater from Shaw manufacturing

         facilities.

       Documents related to permits held by Shaw and Dalton Utilities related to

         the disposal of wastewater.

       Communications with Dalton Utilities or the Georgia Environmental

         Protection Division.

       Communications with manufacturers of certain chemicals.

       Communications related to fluoropolymers.

       Documents related to the testing of wastewater.



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                               Attachment E

Insurance policy declaration pages will be provided to Plaintiff.




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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION


 JARROD JOHNSON, individually, and
 on Behalf of a Class of persons
 similarly Situated,

                      Plaintiff,

                 v.                            Civil Action No,:
                                               4:20-cv-00008-AT


 3M COMPANY, ET AL.,

                         Defendants.



                            CERTIFICATE OF SERVICE

      This is to certify that I have this date filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send email notification of such filing

to all counsel of record.

      This 15th Day of June, 2020.



                                               /s/ Jennifer B. Dempsey
                                               Jennifer B. Dempsey
                                               Georgia Bar No. 217536
                                               jennifer.dempsey@bryancave.com
                                               BRYAN CAVE LEIGHTON
                                               PAISNER LLP

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                                   Counsel for Defendants Shaw
                                   Industries, Inc. and Shaw Industries
                                   Group, Inc.




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        LOCAL RULE 7.1(D) CERTIFICATION OF COMPLIANCE

      I certify that this pleading has been prepared with Times New Roman, 14

point, as approved by the Court in L.R. 5.1(C), N.D. Ga.

      Respectfully submitted, this 15th Day of June, 2020.



                                             /s/ Jennifer B. Dempsey
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